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 4                                  UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7     UNITED STATES OF AMERICA,                                Case No. 2:13-cr-0147-LDG-GWF
 8                                            Plaintiff,                     ORDER
              v.
 9
       RANDY RULEY PHILLIPS,
10
                                            Defendant.
11

12            The court conducted a revocation hearing on Thursday, September 4, 2014. Amber Craig
13     appeared on behalf of the government, and Paul Riddle was present on behalf of the Defendant
14     who was present in custody. The Defendant admitted the violations and submitted to revocation
15     of his pretrial release. At the conclusion of the hearing, counsel for Phillips indicated that his
16     client’s leg was swollen and purple and that he had not recently received medical attention. The
17     court directed the U.S. Marshals Service to report to the court concerning medical attention, if
18     any, provided to Mr. Phillips.
19            Shortly after the hearing, the U.S. Marshals Service supervisor in charge of detention
20     management reported to the court that he had communicated with medical personnel at Southern
21     Nevada Detention Center and was advised that Phillips was transported to Desert View Hospital
22     on August 22, 2014, where he was treated and cleared for release with discharge instructions for
23     medications. On August 29, 2014, he was seen by a doctor at the Southern Nevada Detention
24     Center. The doctor ordered compression stockings and increased his medications. The detention
25     center reports that Phillips receives daily visits from a nurse who administers his medication, and
26     that Phillips may request medical attention at any time using internal procedures.
27            The U.S. Marshals Service additionally reports that prior to his arrest on the petition for
28     violation of the conditions of his pretrial release, on August 15, 2014, he was in the custody of
                                                           1
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 1     the Las Vegas Metropolitan Police Department (“LVMPD”). While in LVMPD custody he was

 2     transported to the hospital. When it was determined no state charges were pending, LVMPD

 3     officers left the hospital. Phillips reportedly removed IV lines from his person and left the

 4     hospital before being discharged.

 5             IT IS ORDERED that counsel for Defendant shall obtain a medical authorization release

 6     from his client and obtain his medical records before requesting any additional relief from the

 7     court of this nature.

 8             DATED this 4th day of September, 2014.
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                                                          PEGGY A. LEEN
11                                                        UNITED STATES MAGISTRATE JUDGE
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